8:11-cr-00258-RFR-SMB   Doc # 89   Filed: 02/27/12   Page 1 of 1 - Page ID # 193



                   IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  8:11CR258
                              )
          v.                  )
                              )
ANTHONY HARLAN,               )                      ORDER
                              )
                Defendant.    )
______________________________)


          This matter is before the Court after being notified
that Williams Prepared Place and Stephens Center have both

declined to accept defendant into a treatment program in view of

defendant’s conduct in confinement.        The Court finds its order of

February 7, 2012 (Filing No. 80) should be rescinded and

defendant’s motion to have defendant screened for chemical

dependency treatment (Filing No. 79) will be denied.

Accordingly,

          IT IS ORDERED that the Court’s order of February 7,

2012, is rescinded; defendant’s motion to be screened for
chemical dependency treatment is denied.

          DATED this 27th day of February, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
